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Robert F, Brennan, Esq. [S.B. #132449 a ae

LAW OFFICES OF ROBERT F BRENNAN, xe, poilh ik to
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Attorney for: Plaintiff Porshia Jones

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

PORSHIA JONES, an Individual;
an taerene Case No.: CV 13-05525-MWF (CWx)

Plaintiff,

FIRST AMENDED COMPLAINT
VS. FOR DAMAGES:
TR ANSUNTON LLC, is a Gorporation;

EXPERI AN INFORMATIO 1. FAIR CREDIT REPORTING ACT.
SOLUTIONS INC, is a Co I ration: . CALIFORNIA CONSUMER
GLOBAL MOTORO ARS F CREDIT REPORTING AGENCIES
HOUSTON, an unknown business ACT.

entity; CKY RECOVERY SERVICES, ) 3. FAIR DEBT COLLECTION

is a business entity form unknown; PRACTICES ACT.

CORELOGIC CREDCO LLC, a

business entity, form unknown, and

DOES 2-10, nclusive,

Defendants.

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JURY TREAL DEMANDED.

 

Plaintiff alleges:

1, Plaintiff PORSHIA JONES (“Plaintiff”) is a resident of County of Los
Angeles, State of California.

2. Defendants TRANSUNION LLC (“TRANSUNION”), and EXPERIAN
INFORMATION SOLUTIONS (“EXPERIAN) are business entities, forms

 

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unknown, doing business in the State of California as credit bureaus which receive
negative credit information about consumers and which then publish such
information in credit reports available to its subscribers. Collectively, these
defendants will be referred to as “credit bureau defendants” or “credit agency
defendants”, GLOBAL MOTORCARS OF HOUSTON (“GLOBAL”) is a used
car dealership which, among other activities reports allegedly delinquent debts to
credit bureaus and is a “furnisher” under the Fair Credit Reporting Act. SKY
RECOVERY SERVICES (“SKY”) is a collection agency which, among other
activities, reports allegedly delinquent debts to credit bureaus and is a “furnisher”
under the Fair Credit Reporting Act.

2A. Defendant CORELOGIC CREDCO LLC (“CORELOGIC”) is a
business entity doing business within the State of California. On information and
belief, CORELOGIC is a credit bureau and/or a reseller of credit information in
the form of “tri-merge” reports. In previous pleadings, CORELOGIC has been
referred to as “Doe 1”.

3. Defendants DOES 2-10 are individuals and business entities, form
unknown, doing business in the State of California as credit reporting agencies,
debt collection agencies, creditors or other persons or entities which engage in
credit reporting and/or debt collection. DOES 2-10, Inclusive, includes
individuals or business entities doing business in the State of California as credit
reporting agencies, debt collectors and/or creditors who have refused to delete.
accounts of plaintiff that were procured through identity theft, mixed file or other
manner of recording an inaccurate credit account, even after plaintiff has notified
them of the false or inaccurate derogatory, and also who have reported such
accounts as derogatory credit references to credit reporting agencies.

4, Plaintiff does not know the true names and capacities, whether corporate,

partnership, associate, individual or otherwise of Defendants sued herein as Does

 

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1 {| 1 through 10, inclusive, under the provisions of Section 474 of the California
2 || Code of Civil Procedure, Plaintiff is informed and believes and on that basis
! 3 || alleges that Defendants Does 1 through 10, inclusive, are in some manner
4 ||responsible for the acts, occurrences and transactions as officers, diréctors or
5 ||managing agents of Defendants or as its agents, servants, employees and/or joint
6 || venturers and as set forth in this complaint, and that each of them are legally liable
7 |\to Plaintiff, as.set forth below and herein:
8 a) Said Officers, directors or managing agents of Defendants personally
9 ||acted willfully with respect to the matters alleged in this complaint,
10 b) Said officers, directors or managing agents of Defendants personally
11 ||authorized, approved of, adopted and/or ratified the acts alleged herein or the
12 || agents, servants, employees and/or joint venturers of Defendants did so act;
13 c) Said officers, directors or managing agents of Defendants personally
14 || participated in the acts alleged herein of Defendants;
15 d) Said Officers, directors or managing agents of Defendants personally had
16 || close supervision of their agents, servants, employees and/or joint venturers of
17 {| Defendants;
18 e) Said Officers, directors or managing agents of Defendants personally
19 || were familiar with the facts regarding the matters alleged herein;
20 f) Said Officers, directors or managing agents of Defendants personally
21 || failed to investigate the circumstances appertaining to the acts alleged herein.

! 22 || They also failed and refused to repudiate the herein alleged actions and failed to
23 || redress the harm done to Plaintiffs. Further, said Officers, directors, or managing
24 ||agents of Defendants failed and refused to punish or discharge the said agents,

25 || servants, employees and/or joint venturers of Defendants, even after learning of
26 ||the acts of the agents, servants, employees and/or joint venturers of Defendants.
27 || Plaintiffs will seek leave to amend this complaint to set forth the true ndmes and
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FIRST AMENDED COMPLAINT FOR DAMAGES

 

 

 

 

 

 

 
 

 

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capacities of said fictitiously named Défendants as enumerated above, together
with appropriate charging allegations, when learned.

5. Plaintiff is informed and believes, and thereon allege that at all relevant
times herein each Defendant, whether actually or fictitiously named, was the
principal, joint venturer, agent, servant or employee of each other Defendant, and
in acting as such within the course, scope and authority of such relationship, took
some part in the acts and omissions hereinafter set forth, by reason of which each
Defendant is liable to Plaintiff for the relief prayed for in this complaint, and any
future amended complaint. Further, Plaintiff alleges that each act alleged herein,
whether by a named Defendants or fictitiously named Defendants or otherwise,
was expressly authorized or ratified, as these terms are used in California Civil

Code Section 3294(b), by each and every other Defendant herein, whether named

or fictitiously named.
FIRST CAUSE OF ACTION
[VIOLATION OF THE FAIR CREDIT REPORTING ACT
AGAINST ALL DEFENDANTS]

6. Plaintiff re-alleges and incorporates all preceding paragraphs as though
set forth in full in this cause of action.

7, Plaintiff is a consumer as this term is defined by 15 U.S.C. Sec. 1681a(c)
of the Fair Credit Reporting Act. All defendants are “furnishers” as defined by 15
U.S.C. 1681s-2 of the Fair Credit Reporting Act, except, TRANSUNION and
EXPERIAN and each of the credit bureau defendants who are “consumer
reporting agencies” as that term is defined in 15 U.S.C, Section 1681a (#).

8. On or about October 6, 2008, Plaintiff purchased a vehicle from Global
Motors of Houston (GLOBAL). Plaintiff financed the vehicle through Wachovia

who later became Wells Fargo Bank. Plaintiff continues to make her payments on

 

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a timely basis to Wells Fargo Bank.

9, On or about January 24, 2009, Global Motors of Houston sent Plaintiff a
final notice that she owed them a balance of $6,000.00 and that her account was
more than 90 days past due.

10. On or about February 25, 2009, Plaintiffreceived a colléction letter
from SKY RECOVERY SERVICES demanding $8,100.00.

11. On or about March 16, 2011, Plaintiff received correspondence form
Corelogic stating that they had completed the investigation that Plaintiff had
initiated regarding the SKY collection account. This report stated that
TRANSUNION and EXPERIAN verified that the SKY account was appearing
correctly on Plaintiff's credit report.

12, On or about October 16, 2011, Plaintiff communicated with Kris Carrier
frorn GLOBAL. Mr. Carrier was the salesman who sold the vehicle to Plaintiff.
Mr, Carrier explained to Plaintiff that her file had been mistakenly mixed with
another Global customer by the namne of Pamela R. Jones and that he would take
care of correcting her file.

13. On or about July 2012, Plaintiff sent certified return receipt requested
correspondence to TRANSUNION, EXPERIAN and Equifax disputing the SKY
collection accounit.

14. On or about August 6, 2012, Equifax responded to Plaintiff's dispute
indicating that the SKY account was no longer appearing on her credit profile.

15. On or about August 9, 2012, EXPERIAN responded to Plaintiff's
dispute indicating the SK'Y account would remain unchanged from their
processing of Plaintiff's dispute.

16. On or about August 16, 2012, TRANSUNION responded to Plaintiff's
dispute stating the SK'Y account was verified and would remain on her credit

profile.

 

FIRST AMENDED COMPLAINT FOR DAMAGES

 

 

 

 

 

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17. Defendants, TRANSUNION, EXPERIAN and SKY have refused,
despite Plaintiff's phone calls and letters to acknowledge that she was not
responsible for the SKY account.

18. Plaintiff sent correspondence to TRANSUNION, EXPERIAN and SKY
asking that they reinvestigate her account cease any negative credit reporting and
remove her account form collection activity. Only non-party Equifax complied
with plaintiff's request to cease the derogatory credit reporting. On information
and belief, one or more of the credit bureaus sent dispute notices to SKY, thereby
activating SK'Y’S obligations to plaintiff under the Fair Credit Reporting Act.

18A. Allegations as to CORELOGIC: On or about October 6, 2008,
Plaintiff purchased a vehicle from Global Motors of Houston (GLOBAL). Plaintiff
financed the vehicle through Wachovia who later became Wells Fargo Bank.
Plaintiff has always and continues to make her payments on a timely basis to
Wells Fargo Bank.

18B. On or about January 24, 2009, Global Motors of Houston sent Plaintiff
a final notice that she owed them a balance of $6,000.00 and that her account was
more than 90 days past due.

18C. On or about February 25, 2009, Plaintiff received a collection letter
from Sky Recovery Services demanding $8,100.00.

18D, On or about March 16, 2011, Plaintiff received correspondence form
CORELOGIC stating that they had completed the investigation that Plaintiff had
initiated regarding the Sky collection account. This report stated that the Sky
account was appearing correctly on Plaintiff's credit report.

18E. On or about October 16, 2011, Plaintiff communicated with Kris
Carrier from GLOBAL. Mr. Carrier was the salesman who sold the vehicle to
Plaintiff; Mr. Carrier explained to Plaintiff that her file had been mistakenly mixed

with another Global customer by the name of Pamela R. Jones and that he would

 

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1 ||take care of correcting her file.
2 18F, On or about May of 2013, plaintiff sent correspondence to
3 || CORELOGIC asking that they reinvestigate her account cease any negative credit
4 ||reporting and remove her account form collection activity. However,
5 || CORELOGIC refuses to correct the patent errors in plaintiff's CORELOGIC
6 ||reports.
7 19. Plaintiff complied with all requests of each of the Defendants to
8 || provide information in order to have the erroneous-‘marks removed from her credit
9. ||reports. Despite the insistence of Plaintiff, the Defendants, and each of them,
10 || failed to correct the errors and failed to undertake sufficient investigations upon
11 || being notified of the errors.
12 20. Within the past several years, Defendants, and each of them, willfully
13 || violated the provisions of the Fair Credit Reporting Act in at least the following
14 || respects:
15 a. By willfully and negligently failing, in the preparation of the consumer
16 || report concerning Plaintiff, to follow reasonable procedures to assure maximum
17 |) possible accuracy of the information in the report;
18 b. By willfully and negligently failing to correct, after receiving ample
19 |)notice, information about the Plaintiff which defendants knew, or should have
20 || known, was incomplete and/or inaccurate;
al c. By willfully and negligently failing to correct and/or delete the
22 |/incomplete and inaccurate information in Plaintiff's file after conducting an
23 || investigation;
24 d. By willfully and negligently failing to conduct an adequate investigation
25 jj of Plaintiff's complaints, and by willfully and negligently failing to implement
26 || corrective actions once the outcome of such investigations were known, or should
27 ||have been known, to the defendants; and,
28
FIRST AMENDED COMPLAINT FOR DAMAGES

 

 

 

 

 

 

 
 

 

 

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e. By willfully and negligently failing to follow the provisions of 1681c-1
and c-2 with respect to the rights, duties and obligations of identity theft victims
who notify creditors and credit bureaus of the identity theft situation.

21. Asa proximate result of the actions of the Defendants, and each of
them, Plaintiff has been damaged in an amount which will be proven at time of
trial. As provided under the cited law, Plaintiff is entitled to actual damages, pain
and suffering, punitive damages, penalties, costs and attorney fees.

22. Plaintiff alleges that defendants, and each of them, have willfully
violated FCRA with respect to Plaintiff and towards others similarly situated.
Specifically, defendants deliberately have inefficient procedures for correcting
their credit files, because they know that.a certain number of consumers will either
be intimidated or too frustrated to continuously fight back against the constant
onslaught of collection activities for invalid debts. Defendants, and each of them,
know that a certain number of consumers would rather pay than fight, even if the
debt is not actually owed. These defendants know that their systems intimidate
consumers so they'll pay debts even if not valid or not completely valid. These
facts were not disclosed to the Plaintiff and are not disclosed to the borrowing

public at large.

SECOND CAUSE OF ACTION
VIOLATION OF THE CALIFORNIA CONSUMER CREDIT
REPORTING AGENCIES ACT AGAINST
GLOBAL, SKY, CORELOGIC AND DOES 2-10, INCLUSIVE.
23. Plaintiff incorporates all preceding paragraphs as though alleged in full
in this cause of action.
24. Within two years prior to the filing of the complaint in this action,
defendants GLOBAL, SKY, CORELOGIC and DOES 2-10, Inclusive, both

 

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willfully and negligently violated the California Consumer Credit Reporting
Agencies Act in at least the following ways:

25. By willfully and negligently furnishing to credit reporting agencies
information about the.Plaintiff which Defendants GLOBAL, SKY, CORELOGIC
and DOES 2-10, Inclusive knew, or should have known, was incomplete or
inaccurate due to a mixed file error.

26. Each of the Defendants GLOBAL, SKY, CORELOGIC and DOES 2-10,
Inclusive willfully and negligently failed in their obligations to reinvestigate and
correct the derogatory marks in Plaintiff's credit reports. Plaintiff alleges that
each of the Defendants GLOBAL, SKY, CORELOGIC and DOES 2-10,
Inclusive’ policies and practices hinder and obstruct adequate and meaningful
reinvestigations, and that each defendant knows of this effect of its policies and
practices.

27. Asa proximate result of the willful and negligent actions of the
Defendants GLOBAL, SKY, CORELOGIC and DOES 2-10, Inclusive, and each
of them, Plaintiff has suffered both general and special damages in an amount
which will be proven at time of trial. As provided under the cited laws, Plaintiffis
entitled to actual damages, loss of wages, damage to credit reputation, pain and
suffering, costs and attorney fees. Plaintiff is also entitled to punitive damages
and statutory penalties for willful violations of the California Consumer Credit

Reporting Agencies Act.

THIRD CAUSE OF ACTION
VIOLATION OF FEDERAL FAIR DEBT COLLECTION
PRACTICES ACT AGAINST SKY AND DOES 2-10, INCLUSIVE
28. Plaintiff incorporates all preceding paragraphs as though alleged in full

in this cause of action.

 

FIRST AMENDED COMPLAINT FOR DAMAGES

 

 

 

 
 

 

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29. In debt collecting and in continuing their debt collection activities
against plaintiff, particularly after receiving notice that they were debt collecting
on the wrong person, defendants SKY and DOES 2-10, Inclusive, have violated
the federal Fair Debt Collection Practices Act, 15 U.S.C. Section 1692 et seq.

30. Specifically, plaintiff alleges that SKY and DOES 2-10, Inclusive,
violated the following provisions of federal FDCPA:

a. 15 U.S.C, Section 1692d: SKY, and DOES 2-10, Inclusive,
engaged in debt collection efforts after they knew, and had determined, that
it had no basis for continuing to charge Plaintiff for the accounts at issue.
This had the natural consequence of harassing, abusing and oppressing
Plaintiff.

b, 15 U.S.C. Section 1692e: SK'Y and DOES 2-10, Inclusive, have
threatened action, or taken action, including threats of credit reporting,
threats of lawsuits and implicit or explicit threats of derogatory credit
reporting, that cannot legally be taken because the debt is not plaintiff's
debt.

c. 15 U.S.C. Section 1692f SKY and DOES 2-10, inclusive, have
each used unfair or unconscionable means to collect or attempt to collect the
alleged debt.. Specifically, each has attempted to collect amounts not
expressly authorized by law or by agreement.

31. The above is a non-exclusive list of violations of 15 U.S.C. Sections
1692d, 1692e and 1692f.

32. As a consequence of the violations of FDCPA by SKY and DOES 2-10,
Inclusive, plaintiff has suffered general and special damages according to proof,
and is entitled to any available statutory remedy for such willful violations.

Plaintiff is also entitled to her attorney’s fees and costs.

 

FIRST AMENDED COMELAINT FOR DAMAGES

 

 

 
 

 

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WHEREFORE, Plaintiff prays for judgment as follows:
1. For general and special damages according to proof at trial;
2. For statutory penalties for each separate statutory violation where

allowed by statute;

3. For punitive damages against defendants according to proof at trial and

using the applicable punitive damages standards from the involved statutes:
4, For attorney’s fees where authorized by statute or law;
5. For costs of suit;

6. For such other relief as the court deems just and proper,

PLAINTIFF DEMANDS A JURY TRIAL

Dated: December Z ? 2013. LAW OFFICES OF. OBERT F..BRENNAN, A P.C.

By: Aid
Robert F. Brénndn ,
Attorney for Plaintiff

 

 

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PROOF OF SERVICE

I am employed in the county of Los Angeles, State of California. I am over the age of 18
and not a party to the within action; my business address is 3150 Montrose Avenue, La Crescenta,
CA 91214.

On J anuary 13, 2014, I served the foregoing documents described as

FIRST AMENDED COMPLAINT on parties in this action,

on parties in this action,
[x ] By USPS Mail:

Peter Todd Snow
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650-473-2601 (fax)

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Philip Olu Falese

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[ ] *I deposited such envelope in the mail at La Crescenta, California. The envelope was
mailed with postage thereon fully prepaid.

[X ] (Federal) I declare that 1 am employed in the office of a member of the bar of this court
at whose direction the service was made.

Executed on January 13, 2014, at La Crescenta, C hh ;

 

 

Isabel Grubbs
